      Case 2:16-cr-00046-TLN Document 146 Filed 10/18/19 Page 1 of 6


1

2

3
                          UNITED STATES DISTRICT COURT
4
                         EASTERN DISTRICT OF CALIFORNIA
5

6
     UNITED STATES OF AMERICA,            No. 2:16-cr-0046-GEB
7

8                 Plaintiff,
9
         v.                               ORDER
10

11
     Zalathiel Aguila,
12

13                Defendant.

14

15

16       After Defendant’s sentencing hearing held on July 26, 2019
17   and the filing of the JUDGMENT IN A CRIMINAL CASE on August 14,
18
     2019, the United States of America filed a motion on August 30,
19
     2019 for entry of an amended restitution order.         The United
20
     States argues: the amendment “would include the loss timely
21

22   asserted by an undeniable victim of the instant [conspiracy]

23   fraud scheme [involved in defendant’s criminal offense] that was

24   left out of the Presentence Investigation Report (“PSR”) through
25   inadvertence and mistake, but through no fault of the victim.”
26
     Mot. for Amended Restitution Order at 1:4-8 (ECF No. 139 at 3 of
27
                                         1
28
      Case 2:16-cr-00046-TLN Document 146 Filed 10/18/19 Page 2 of 6


1    6.)   The United States noticed the motion for hearing on
2    September 13, 2019.       This hearing date was vacated by a Minute
3
     Order filed on September 3, 2019 that required “[t]he defense
4
     [to] file a response to the Government's Motion to Amend the
5
     Judgment no later than 9/10/19” and stated: “[t]he government
6
     reply shall be filed no later than 9/13/19 . . .”
7

8          Defendant filed a motion to quash the restitution claim on
9
     September 10, 2019.       Subsequently, a Minute Order issued on
10
     October 8, 2019 scheduling the restitution hearing on October 11,
11
     2019.    On the same day, Defendant filed a request seeking “the
12
     Restitution hearing . . . be re-scheduled to October 18, 2019.”
13

14   Restitution Hearing, at 1:18-20, (ECF No. 143.)              This

15   rescheduling request was granted.

16
           Defendant argues in his motion to quash the restitution
17
     claim: “t]he Government does not cite any authority for its
18
     proposition that its claimed mistake and oversight . . . excuses
19

20   the     omission   of   amounts   from       the agreed   upon   and   final

21   order     of restitution,” and “Defendant would be prejudiced by any

22   addition to the judgment of restitution because a restitution
23   order entered after sentencing may only be appealable if the
24
     Court deferred the issue of restitution, which did not occur in
25
     this case.” Mot. to Quash Restitution Claim, at 2:23-24, 3:1,
26
     3:7-10 (ECF No. 141.)
27
                                              2
28
      Case 2:16-cr-00046-TLN Document 146 Filed 10/18/19 Page 3 of 6


1         The government argues as follows that Defendant is aware of
2    how much restitution he could be required to pay: “In the plea
3
     agreement between the parties, the defendant agreed to pay the
4
     full amount of restitution to all victims affected by this
5
     offense, with the parties estimating that such restitution would
6
     be at least approximately $10.47 million.        ECF No. 93 at 3.” Mot.
7

8    for Amended Restitution Order 1:18-21 (internal quotations

9    omitted).

10
          The PSR filed on January 9, 2019, contains the
11
     recommendation that Defendant be ordered to pay $176,669 in
12
     restitution.   ECF No. 118.” Mot. at 1:18-21 (ECF No. 139.) That
13

14   recommendation was adopted.

15
          On August 13, 2019, the probation officer filed a
16
     restitution Memorandum in which the probation officer states:
17
     “Immediately following the sentencing hearing, the probation
18
     officer received a telephone call from a representative with [the
19

20   United States Attorney’s] Victim Witness Unit indicating that two

21   of the four victim impact statements and requests for

22   restitution, which had been submitted in 2018 (prior to the
23   preparation of the presentence report), were not included in the
24
     presentence report for the Court’s consideration.” Sealed
25
     probation officer Memorandum (ECF. No. 137).         The probation
26
     officer finds in the Memorandum that one of two victims omitted
27
                                         3
28
      Case 2:16-cr-00046-TLN Document 146 Filed 10/18/19 Page 4 of 6


1    from the PSR is entitled to $202,399.54 in lost equity because of
2
     Defendant’s and his coconspirators criminal fraudulent offense.
3
     This is the victim that the government’s proposed amendment would
4

5    include in the amended restitution judgment and would result in
6
     Defendant being ordered to pay $379,068.54 in restitution, and
7
     the victim mistakenly omitted as a payee being listed in an
8

9    AMENDED JUDMENT IN A CRIMINAL CASE with the other listed

10   restitution victims. During the October 18, 2019 hearing on the

11   amendment motion, a probation officer explained that said
12   victim’s impact statements and request for restitution were not
13
     seen because the documents had been placed in the co-defendant’s
14
     sentencing folder.
15

16       The restitution amendment issue concerns the question

17   whether when deciding the present motion, the federal court is
18   bound by the deadlines in the Mandatory Victims Restitution Act
19
     of 1996 (“MVRA”) prescribed in 18 U.S.C. § 3664(d)(5).            The
20
     Supreme Court considered a similar question in Dolan v. United
21
     States, 560 U.S. 605 (2010), and held those time limitations are
22
     not jurisdictional in nature, and therefore do not bar a federal
23

24   court from ordering restitution after the prescribed statutory

25   deadlines. Dolan distinguished between statutory time limits
26   which are jurisdictional, and rules which do not limit a court's
27
     jurisdiction, but rather regulate the timing of motions or claims
                                     4
28
      Case 2:16-cr-00046-TLN Document 146 Filed 10/18/19 Page 5 of 6


1    and held that the time limitations in § 3664(d)(5) do not deprive
2    district courts of the power to order restitution. As stated in
3
     Dolan, 560 U.S. at 607–608, 611 (2010): “This case concerns
4
     the remedy for missing a statutory deadline [in 18 U.S.C. §
5

6    3664]. The statute . . . focuses upon mandatory restitution for

7    victims of crimes . . . The fact that a sentencing court misses
8    the statute's . . . deadline, even through its own fault or that
9
     of the Government, does not deprive the court of the power to
10
     order restitution.”    “[T]he statute seeks speed primarily to help
11
     the victims of crime and only secondarily to help the defendant .
12

13   . . Consequently, a court might award restitution for those
14
     losses long after the original sentence was imposed . . . ” Id.
15
     at 613. “[N]either the language nor the structure of the statute
16
     requires denying the victim restitution in order to remedy a
17

18   missed . . . deadline [; and] doing so would defeat the basic

19   purpose of the Mandatory Victims Restitution Act. Id. at 615.
20
         The sentencing record makes pellucid that Defendant was
21
     aware of the likely restitution amount to which he could be
22
     responsible since it is stated in the justification section of
23

24   the PSR that the Mortgage and bank fraud scheme “caused an

25   estimated actual loss of at least $10, 473, 606 to approximately
26   20 financial institutions and/or 69 finally distressed
27
     homeowners.”   “[H]ere [the delay in ordering more restitution] at
                                      5
28
      Case 2:16-cr-00046-TLN Document 146 Filed 10/18/19 Page 6 of 6


1    worse postpone[d] the day of financial reckoning.” Id. Nor is
2    Defendant’s concern about not having the ability to appeal from
3
     an amended restitution judgment enough reason to deny the motion.
4
     The Supreme Court discusses appeal from an amended restitution
5
     judgment in Dollan as follows: “Moreover, § 3664(o) provides that
6
     a ‘sentence that imposes an order of restitution,’ such as the
7

8    later restitution order here, ‘is a final judgment.’ Thus, it is

9    not surprising to find instances where a defendant has appealed

10   from the entry of a judgment containing an initial sentence that
11   includes a term of imprisonment; that same defendant has
12
     subsequently appealed from a later order setting forth the final
13

14   amount of restitution . . .” Id. at 618.
15
         For the stated reasons, an amended judgment shall be entered
16
     adding the omitted restitution victim and increasing the amount
17

18   of restitution to $379,068.54.

19
     Dated:   October 18, 2019
20
21

22

23

24

25

26
27
                                         6
28
